                                      Case 3:18-cv-01477-JR                      Document 285-1                    Filed 11/16/22           Page 1 of 2



                                                                                                                                                                               ,.. EXHIBIT ""
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                                                                                                                                                                                       Alison Daugherty
                                                                                                                                                                                            2/5/2021
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   IF ll~S HAPPENED TO YOU WE WA.NT TO l(NOW~
   Please select one or: more choices below.



   '0 Oiscrimination or ~ther harassment
           (Generally, Piscrfrninalion •Or Harassment can Include thttiats, in5ults, Jokes, unwelcome verbal comments or emalli derogatory plctures or gesturesor unwelcome physfoal
           conduct, bullying, reta liatlon, discrimination or disrespect based on race, qge, sexual orientcition, ctisabJUty, ethnic group or any protecteI:1 class st,atus, intimidation, micro-
           aggressions, excluslonary behavior and actions indud!ng 'cUques/ or1clubs', preferential treatment., the. feei)ng of having to 'prove/yourself versus c.olleaguest pay or
           performance recognition. Could Include purposelyamhlguous .cFS feedback whether verbal orwrltten/ lack of a .clear am;l suppqrted growth plan from manager, gender
           or diversity .bias relating to hiting, promoting, pciy orperforman ce rewards. Dlscriminatiori or.harassment at w6rk .can happen Inside oroutsld.e a.f the work·place,)
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             exual har.assr-nent                             .                    ·                            .
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           at work can happen i'nslde or out1:,Jc!e of the wotk•place anc! .canlnclµdeco•workersJn.cludihg athletes, rna~agers,vendors and visitors,)                            ·




    :IF·YOU·WOIJLD LIKE TO SHARE MORE .DETAILS., PLEASE DO SO OVER THE PAG:E.
    (If you are a Nike employee, Ni.ke's harassment anc!>anti•discrlmihatiop policy can be·founcl here: https:t/nikehr.nike.com/node/15978)




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                                           Case 3:18-cv-01477-JR                           Document 285-1           Filed 11/16/22         Page 2 of 2




MY EXPER.IEN;CE                                                                                                                                                                    ,   .
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 Name(optional):


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 Were there any witnesses'?    ND
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